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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,
                                                           Case Number 16-cr-20677-06
v.                                                         Honorable Thomas L. Ludington

D-6, MICHAEL ALLEN PRATT, JR.,

                  Defendants.
______________________________________ /
  ORDER DENYING MOTION TO SUPPRESS EVIDENCE FROM WARRANTLESS
                                POLE CAMERA
       On October 12, 2016, an indictment was issued which charged Michael Allen Pratt, Jr.,

and twelve other Defendants with participating in a large-scale conspiracy to possess and

distribute controlled substances. ECF No. 16. Pratt, Jr., is charged in Count One, conspiracy to

possess and distribute cocaine and heroin; Count Twenty-Six, distribution of heroin on October

26, 2015; Count Twenty-Seven, distribution of heroin on October 29, 2015; Count Twenty-

Eight, distribution of heroin on November 4, 2015; Count Twenty-Nine, distribution of heroin on

November 23, 2015; and Count Thirty, distribution of heroin and fentanyl, aiding and abetting.

       On April 12, 2017, Pratt, Jr., filed a motion to suppress video evidence the Government

obtained via a “pole camera” that was installed and operated without a warrant. ECF No. 181.

On May 23, 2017, a hearing was held. For the reasons provided below and on the record, the

motion to suppress will be denied.

                                               I.

       Most material facts are undisputed. On July 11, 2014, a fire occurred in the residence on

3253 Grant Street, Saginaw, Michigan. Prior to the fire, Pratt, Jr., his girlfriend, and their

children lived in the Grant Street house. The property was owned by Pratt, Sr. Since the fire
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occurred, the building has been uninhabited. On or about January 28, 2016, Pratt, Jr., rented a

dumpster and began clearing portions of the damaged building.

       On August 12, 2015, a “pole camera” was placed on a utility pole near the intersection of

Grant Street and Youmans Street in Saginaw. The camera was positioned to record views of the

front yard of the Grant Street house. It was incapable of recording any part of the interior of the

house. FBI investigators were capable of accessing the camera remotely and had the ability to

pan the camera right or left and zoom in. The video feed was recorded and stored on an FBI

server. When first installed, the camera operated 24 hours per day. It did not have infrared

capability.

       Starting on approximately September 17, 2016, the camera ran from 8:00 a.m. to 8:00

p.m. Around April 12, 2016, the camera’s operational schedule increased by one hour: running

until 9:00 p.m. On April 20, 2016, the schedule changed to record until 10:00 p.m. Finally, on

June 17, 2016, the schedule was modified so that the camera recorded from 6:00 a.m. to 11:00

p.m. The camera ceased operation on October 24, 2016.

       The camera was originally installed and operated without a warrant. On February 8,

2016, investigators applied for and received a warrant to operate the camera. On May 9, 2016,

and August 2, 2016, additional warrants were issued. Thus, the investigators were engaged in

warrantless surveillance, via the pole camera, from approximately August 12, 2015, to February

8, 2016.

                                                II.

       In general, warrantless searches and seizures presumptively violate the Fourth

Amendment. The Fourth Amendment provides:

       The right of the people to be secure in their persons, houses, papers, and effects,
       against unreasonable searches and seizures, shall not be violated, and no warrants

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        shall issue, but upon probable cause, supported by oath or affirmation, and
        particularly describing the place to be searched, and the persons or things to be
        seized.

U.S. const. amend IV.

Generally speaking, the requirement that searches be reasonable means law enforcement officials

must obtain a judicially approved warrant before engaging in the search. Riley v. California, 134

S. Ct. 2473, 2482 (2014).

        However, the Fourth Amendment does not protect defendants against all warrantless

searches and seizures, simply “unreasonable searches and seizures.” U.S. const. amend IV. To

establish a violation of the Fourth Amendment, a defendant must show (1) a “subjective

expectation of privacy” in the area searched and (2) that the expectation of privacy, viewed

objectively, is reasonable. Smith v. Maryland, 442 U.S. 735, 740, 99 S. Ct. 2577, 2580, 61 L. Ed.

2d 220 (1979).

                                                        A.

        First, the Government argues that Pratt, Jr., lacks standing to challenge the search.

“Fourth Amendment rights are personal rights which, like some other constitutional rights, may

not be vicariously asserted.” Alderman v. United States, 394 U.S. 165, 174 (1969). Pratt, Jr.,

bears the burden of demonstrating standing to challenge the search, which requires that he show

that he personally possessed a “legitimate expectation of privacy” in the area searched. Rawlings

v. Kentucky, 448 U.S. 98, 104 (1980) (citing Katz v. United States, 389 U.S. 347 (1967)).1

Importantly, “privacy interests are not coterminous with one’s property rights.” Shamaeizadeh v.

Cunigan, 338 F.3d 535, 544 (6th Cir. 2003). Persons have a legitimate expectation of privacy in

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  As the Rawlings Court recognized, the standing inquiry is fundamentally indistinguishable from the question of
whether the search itself was “unreasonable.” Id. at 106. However, the idea of “standing” is a helpful way to
approach the question of whether Pratt, Jr., has a reasonable expectation of privacy in property where he no longer
lived. Accordingly, that question will be analyzed separately from the distinct, though related, question of whether
Pratt, Jr., may challenge as unreasonable the long-term use of a pole camera to surveil the uninhabited property.

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their home, including the curtilage surrounding the house. See United States v. Dunn, 480 U.S.

294, 301 (1987).

        But persons necessarily have a much lower expectation of privacy in uninhabited

structures. See United States v. Walsh, 654 F. App’x 689, 704 (6th Cir. 2016) (“Jenkins failed to

establish that she had a reasonable expectation of privacy in an apartment that she did not inhabit

and, in fact, leased to others.”); United States v. Whitehead, 415 F.3d 583, 588 (6th Cir. 2005)

(finding that there was no reasonable expectation of privacy for a “dilapidated and unlivable”

house that was used solely to engage in drug-related business transactions); United States v.

McMichael, 369 F. Supp. 2d 898, 904 (E.D. Mich. 2005) (finding that the defendant did not have

a reasonable expectation of privacy in a house that was used solely to conduct a business and

which was “devoid of Defendant’s personal effects, or any personal effects at all”); United States

v. Jefferies, No. CRIM.A. 3:07CR25-S, 2008 WL 90025, at *1 (W.D. Ky. Jan. 8, 2008) (“Simply

leasing a premises and possessing a key does not create a reasonable expectation of privacy

which society is willing to recognize as reasonable where the evidence shows that the location

was used solely for conducting illicit business.”).

        Similarly, property used for commercial (or illegal)2 purposes is treated differently than

property used for residential purposes. Minnesota v. Carter, 525 U.S. 83, 90 (1998). A worker

can have a reasonable expectation of privacy in his workplace (and especially in a private office).

Id. But the more tenuous connection between the person and the property (especially if the

person is present on the property solely to engage in commercial activity), the less reasonable the

defendant’s expectation of privacy.




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  Importantly, the use of a space for illegal activity does not alter the privacy expectations of a person who would
otherwise have standing.” United States v. Washington, 573 F.3d 279, 283 (6th Cir. 2009).

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       Here, Pratt, Jr., concedes that the building was uninhabited. It is further undisputed that

he did not own the property. Although property rights are not required to establish a reasonable

expectation of privacy, they are relevant. Pratt, Jr., contends that he had some personal effects

still within the structure, but it was clearly no longer being used for residential purposes. Pratt,

Jr., did rent a dumpster and clean out part of the house on January 26, 2016, but that activity, if

anything, serves to emphasize that Pratt, Jr., no longer lived at the Grant Street property. The

Government presumably will assert at trial that Pratt, Jr., used the property as a location for illicit

activity related to the narcotics conspiracy. But, as explained above, the periodic use of property

for commercial purposes is not typically sufficient to create a reasonable expectation of privacy.

       The immediate case is more analogous to McMichael. In McMichael, the defendant was

present on the premises in order to package cocaine. The district court explained that this was

“essentially . . . a business transaction.” 369 F. Supp. 2d at 903 (internal citations omitted). In

finding that the defendant did not have a reasonable expectation of privacy in the apartment, the

court reasoned as follows:

       [H]e had no personal effects in the residence, unlike an overnight guest or
       resident. Additionally, unlike Carter, the McGuire house was not used as a
       residence by anyone; there was no furniture, no personal effects, and the humidity
       and conditions of the house were not suitable for habitation. Furthermore,
       Defendant took steps to distance himself from the property by ensuring that his
       name was not on documentation associated with the residence. Morea also repaid
       Defendant’s interest in the house and the house would have belonged to Morea
       after the completion of the operation. Finally, the entire purpose of the house as
       presented to the Court was for an illegal marijuana growing operation; there was
       no legitimate residence.

Id.

Likewise, in Whitehead, the Sixth Circuit found that a person illegally squatting in a dilapidated

house did not possess a legitimate expectation of privacy in the property. 415 F.3d at 587. More

importantly, the court found that a frequent visitor to the property did not have a legitimate

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expectation of privacy because “he never once slept at the residence,” the “house was dilapidated

and unlivable,” and the visitor presented no evidence which indicated that he visited the property

for any purpose other than engaging in drug-related business transactions. Id. at 588.

        It is undisputed that the structure was not suitable for habitation. Pratt, Jr., did not own

the property and, more importantly, had lived elsewhere for over a year. In fact, it appears that

Pratt, Jr.’s, only remaining connection to the Grant Street property is the alleged drug-related

activity he conducted there. Considering the tenuous relationship between Pratt, Jr.’s, personal

life and the uninhabited Grant Street property, he did not have a reasonable expectation of

privacy for activity conducted on the property.

                                                       B.

        Even if the Court concluded that Pratt, Jr., had sustained a sufficient connection to the

property to maintain his privacy protections, the surveillance method used by the investigators

did not violate a reasonable expectation of privacy. Continuous camera surveillance of private

property does raise privacy concerns and is evocative of an “Orwellian state.” See United States

v. Cuevas-Sanchez, 821 F.2d 248, 251 (5th Cir. 1987). But there are mitigating factors and

controlling precedent which justify denial of the motion to suppress here.

        Pratt, Jr., correctly notes that federal courts have consistently expressed discomfort with

long-term video surveillance of defendants. In United States v. Cuevas-Sanchez, for example, the

Fifth Circuit acknowledged that a “camera monitoring all of a person’s backyard activities . . .

provokes a negative visceral reaction.” 821 F.2d at 251. The Cuevas-Sanchez Court concluded

that “Cuevas’s expectation to be free from this type of video surveillance in his backyard is one

that society is willing to recognize as reasonable.” Id.3 And, in an unpublished decision, the Sixth


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 Despite that conclusion, the Cuevas-Sanchez Court affirmed admission of the video evidence because investigators
had properly obtained a court order prior to beginning the video surveillance. Id. at 252.

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Circuit opined that “long-term video surveillance of curtilage” might require a warrant. United

States v. Anderson-Bagshaw, 509 F. App’x 396, 405 (6th Cir. 2012).

       But more recent decisions have declined to suppress evidence obtained from long-term

video surveillance when the camera captures a public view. In United States v. Wymer, the

district court denied a motion to suppress video surveillance evidence from a camera aimed at

the defendant’s garage, despite “concerns regarding the intrusive nature of the surveillance at

issue.” 40 F. Supp. 3d 933, 942 (N.D. Ohio 2014). The court emphasized that “any passerby on

Sterling Street would have an unobstructed view of the property through the chain-link fence.

The same passerby would have perhaps an even better look at the garage from the Sterling Street

driveway.” Id. Because the defendant “knowingly expose[d] his garage to public view,” he could

not claim a legitimate expectation of privacy “in his activities at the garage.” Id. at 940. See also

United States v. Garcia-Gonzalez, No. CR 14-10296-LTS, 2015 WL 5145537, at *9 (D. Mass.

Sept. 1, 2015) (reluctantly following First Circuit precedent and finding no Fourth Amendment

violation where the video surveillance was of property exposed to the public, but asserting that

“continuous surveillance” is highly intrusive and deeply troubling); United States v. Houston,

No. CRIM.A. 3:13-09-DCR, 2014 WL 259085, at *5 (E.D. Tenn. Jan. 23, 2014) (reasoning that

long-term video surveillance likely violated the defendant’s reasonable expectation of privacy,

but declining to create a bright-line rule and finding that exclusion was not warranted

regardless).

       But notwithstanding the concerns expressed by other federal courts (and shared by this

Court), the Sixth Circuit’s recent decision in United States v. Houston compels denial of the

motion to suppress. 813 F.3d 282, 288 (6th Cir.), cert. denied, 137 S. Ct. 567, 196 L. Ed. 2d 448

(2016). In Houston, the Sixth Circuit held that warrantless video monitoring, which occurred for



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ten weeks, was not a violation of the Fourth Amendment. The Houston Court summarized its

reasoning as follows:

       There is no Fourth Amendment violation, because Houston had no reasonable
       expectation of privacy in video footage recorded by a camera that was located on
       top of a public utility pole and that captured the same views enjoyed by passersby
       on public roads. The ATF agents only observed what Houston made public to any
       person traveling on the roads surrounding the farm. Additionally, the length of the
       surveillance did not render the use of the pole camera unconstitutional, because
       the Fourth Amendment does not punish law enforcement for using technology to
       more efficiently conduct their investigations. While the ATF agents could have
       stationed agents round-the-clock to observe Houston’s farm in person, the fact
       that they instead used a camera to conduct the surveillance does not make the
       surveillance unconstitutional.

Id. at 287–88.

The fact that the camera might have captured images of Houston’s curtilage was irrelevant

because the views were plainly visible to the public. Id. at 288. The court also emphasized that

“it was possible for law enforcement to have engaged in live surveillance of the farm for ten

weeks.” Id. at 289. And, anticipating an objection, the court further reasoned that “even if it were

not practical for the ATF to conduct in-person surveillance for the full ten weeks, it is only the

possibility that a member of the public may observe activity from a public vantage point—not

the actual practicability of law enforcement’s doing so without technology—that is relevant for

Fourth Amendment purposes.” Id.

       Houston is controlling here. Pratt, Jr., concedes that the view captured by the pole camera

was “open to public view.” Mot. Suppress at 4. Pratt, Jr., does not attempt to distinguish

Houston. Rather, he argues simply that the length of the warrantless surveillance rendered it

unreasonable. But Houston directly addresses and rejects that argument. The investigators here

would have been legally justified in personally staking out the property for several months.

Accordingly, they were permitted to use a camera to accomplish the same thing. Further, the



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camera in Houston was trained on the defendant’s residence. Since the Grant Street property was

not being used for residential purposes, the surveillance here is significantly less troubling.4

Thus, because the property here was nonresidential and the recordings were of a view available

to the public,5 Pratt, Jr., did not possess a reasonable expectation of privacy in the video footage

captured by the pole camera. The motion to suppress will be denied.

                                                              III.

         Accordingly, it is ORDERED that Defendant Pratt, Jr.’s, motion to suppress, ECF No.,

181, is DENIED.



         Dated: June 2, 2017                                                      s/Thomas L. Ludington
                                                                                  THOMAS L. LUDINGTON
                                                                                  United States District Judge




                                                     PROOF OF SERVICE

                             The undersigned certifies that a copy of the foregoing order was served
                             upon each attorney or party of record herein by electronic means or first
                             class U.S. mail on June 2, 2017.

                                                              s/Kelly Winslow
                                                              KELLY WINSLOW, Case Manager




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  Pratt, Jr., also raises an additional concern regarding the possibility that the camera had the capability of “zooming
in or panning images.” Mot. Suppress at 4 n. 1. The Government represents that the camera had those capabilities.
Resp. Br. at 2, ECF No. 246. But the camera in Houston had the same functionality. See 813 F.3d at 286. Thus,
Houston cannot be distinguished on that ground.
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  Pratt, Jr., admitted at the hearing that the camera had no line of sight into the interior of the house.

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